

People v Credell (2018 NY Slip Op 06439)





People v Credell


2018 NY Slip Op 06439


Decided on September 28, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 28, 2018

PRESENT: SMITH, J.P., CARNI, DEJOSEPH, NEMOYER, AND TROUTMAN, JJ. (Filed Sept. 28, 2018.) 


MOTION NO. (534/18) KA 16-00005.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vDARNELL CREDELL, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








